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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                  )       CASE NO. 1:17-MD-2804
OPIATE LITIGATION                             )
                                              )       JUDGE POLSTER
THIS DOCUMENT RELATES TO:                     )
“Track One Cases”                             )
                                              )       ORDER AMENDING PROCEDURES
                                              )       REGARDING REDACTIONS AND
                                              )       FILING OF BRIEFS UNDER SEAL


       On June 20, 2019, the Sixth Circuit issued a ruling addressing the extent to which this

Court’s ARCOS Protective Order should remain in place. See In re: National Prescription Opiate

Litig., 2019 WL 2529050 (6th Cir. June 20, 2019) (“ARCOS Ruling”). The existing ARCOS

Protective Order generally limits disclosure of ARCOS data to plaintiffs, who may use it only for

certain purposes, and directs the parties to redact or place under seal documents filed on the record

containing ARCOS data. See docket no. 1545.1 The Court of Appeals vacated the ARCOS

Protective Order and directed this Court to determine whether there should instead be “a narrower

protective order that would allow the DEA to object to disclosure [of ARCOS data] as specific

investigations may require” – that is, an Order that allows only “limited redactions to those

particular portions of the ARCOS data that correspond to specific ongoing investigations.” ARCOS

Ruling, 2019 WL 2529050 at *12.

       In addition, noting that the parties had redacted or filed under seal documents containing


       1
          The ARCOS Protective Order at docket no. 1545 consolidates and supersedes all of the
prior versions of ARCOS Protective Orders, found at docket nos. 167, 233, 397, 400, 602, 668, 800,
1106.
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other allegedly confidential information – not just ARCOS data – the Court of Appeals also directed

this Court to “conduct a full review of court documents filed under seal or with redactions, and . . .

in each instance reevaluate whether redaction or seal is necessary in light of the proper legal

standards as set forth in this opinion.” Id. at 14 n.14.

       The appellate court issued its ruling eight days before the existing June 28, 2019 due date

for the parties’ summary judgment and Daubert motions. The parties had been drafting and

redacting their motions premised upon existing protective orders, so the appellate opinion created

some confusion on how to proceed. Accordingly, this Court and Special Master Cohen quickly

issued several rulings setting out redaction standards and mechanisms for the upcoming motions and

exhibits.2 The Court also directed interested parties to submit position papers on the appropriate

scope of a revised ARCOS Protective Order; the Court received position papers from plaintiffs,

defendants, media-intervenors, and the DEA. See docket nos. 1798, 1807, 1808, & 1809.

       Having reviewed these position papers, and having observed some problems with the

mechanisms that were quickly put into place for filing redacted motions, the Court now clarifies and

amends its prior orders as follows.



ARCOS Data

       In its position paper, the DEA asserts that “a district court should not proceed to implement


       2
          See docket no. 1719 (Special Master’s Directions Regarding Filing of [Upcoming] Briefs
Under Seal). See also docket no. 1725 (Court’s Order Regarding ARCOS Data and Documents
Previously Filed Under Seal); docket text entry dated June 28, 2019, 3:02 p.m. (stating that “all
existing Protective Orders are reaffirmed and shall remain in place until the Court issues a ruling
determining the scope of a new Protective Order”); docket text entry dated June 28, 2019. 4:35 p.m.
(“[t]he Court is keeping in place the existing [ARCOS] Protective Order for now . . . but requires
prompt briefing”).

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the decision of a court of appeals until the mandate has issued.” Docket no. 1809 at 2. Defendants

agree, and also note they have a right to seek rehearing, which would be effectively denied “[i]f this

Court orders ARCOS data to be released to the public” before a petition for rehearing can be

considered. Docket no. 1807 at 12. The Court agrees that, until the reconsideration period expires

and the Sixth Circuit issues a mandate, the ARCOS Protective Order should remain in place.

Accordingly, the parties should continue their adherence to the provisions in the ARCOS Protective

Order regarding redaction and filing under seal. See docket no. 1545 at 6, ¶8.



Other Confidential Information

       In the wake of the Sixth Circuit’s ARCOS Ruling, Special Master Cohen provided directions

to the parties regarding redaction of information from their summary judgment and Daubert

motions. See docket no. 1719 at 2-3. Among other things, the Special Master ruled that

“[i]nformation that is considered “business confidential” but that is not a bona fide trade secret does

not qualify for redaction. Id. at 3 n.4 (citing Kondash v. Kia Motors America, Inc., 767 Fed. Appx.

635, 639 (6th Cir. 2019)).

       In their position paper, defendants point to a very recent Supreme Court case – Food

Marketing Inst. v. Argus Leader Media, 2019 WL 2570624 (U.S. June 24, 2019) – and argue that

“the Special Master’s directions on sealing briefs are not consistent with Food Marketing.” Docket

no. 1807 at 11.3 The Court disagrees. In Food Marketing, the Supreme Court examined the

meaning of “confidential commercial or financial information” in the context of FOIA requests. The

Supreme Court held that, “where commercial or financial information is both customarily and


       3
           Food Marketing was issued within hours after the Special Master’s directions.

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actually treated as private by its owner and provided to the government under an assurance of

privacy, the information is ‘confidential’ within the meaning of [FOIA] Exemption 4.” 2019 WL

2570624 at *7 (emphasis added). In this case, the information defendants seek to keep confidential

(by redaction and/or filing under seal) was produced by defendants in discovery; it was not obtained

from the government after defendants provided it to a federal agency. Moreover, the allegedly

confidential information at issue is now being placed in the court record. FOIA requests are akin

to discovery; the Food Marketing opinion says nothing, either explicitly or by implication, to

undermine the Sixth Circuit’s ruling that “there is a lower requirement for protective orders relating

to discovery, during which secrecy is permitted, than for orders to seal court records, which carry

a strong presumption of openness.” ARCOS Ruling, 2019 WL 2529050 at *9 (citing Shane Grp.,

Inc. v. Blue Cross Blue Shield of Mich., 825 F.3d 299, 305 (6th Cir. 2016)). This Court rejects

defendants’ assertion that, because FOIA and Fed. R. Civ. P. 26(c)(1)(g) both refer to “confidential

commercial information,” Food Marketing suggests protective orders must now be construed more

broadly. At best, Food Marketing may give defendants distant reason to ask the Sixth Circuit to

reconsider its conclusion regarding ARCOS data (which plaintiffs obtained from a federal agency

by subpoena, not FOIA request), but Food Marketing does not call into question the long-applicable

standard for redaction of other allegedly confidential information that is made a part of this Court’s

record.

          In sum, the Court affirms Special Master Cohen’s instructions regarding what the parties

should and may redact, see docket no. 1719 at 2-3. Furthermore, the Court warns the parties that

failure of a party to adhere to these standards will carry consequences. If the Court (or the Special

Master): (1) is asked repeatedly to resolve disputes over whether information designated for


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redaction or sealing was appropriate; and (2) repeatedly concludes the designation was improper;

then (3) the designating party will lose the right to make future confidentiality designations in later-

filed documents, and/or the Court will simply lift all of that party’s redaction designations. That

said, the Court and the Special Master do not have time to, and generally will not, rule upon the

propriety of confidentiality designations regarding exhibits (or portions thereof) upon which the

motions do not actually rely.



Redaction and Sealing Mechanisms

        The Sixth Circuit instructed that “evidentiary motions, and exhibits accompanying the

parties’ filings . . . [are] subject to the strong presumption in favor of openness, which applies here

with extra strength given the paramount importance of the litigation’s subject matter,” and “[o]nly

the most compelling reasons can justify non-disclosure of judicial records.” ARCOS Ruling, 2019

WL 2529050 at *14. Accordingly, Special Master Cohen, with input from the parties, set out a

mechanism to ensure the summary judgment and Daubert motions would be placed on the public

record as soon as possible. See docket no. 1719 at 1-2. Since then, however, the parties have

struggled with this mechanism, in part because of the very large volume of exhibits that need review,

and in part because Food Marketing caused defendants to question whether the Special Master’s

redaction instructions remained valid.

        Accordingly, the Court modifies the mechanism as follows. The following procedures are

designed to: (1) maintain confidentiality of all of, but only, the appropriate portions of the

documents; (2) remove inappropriate redactions and sealing of documents as quickly as possible;

(3) allow the Court to begin its review of filed documents immediately; and (4) provide easy cross-


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referencing of all exhibits to all briefs. Put differently, these procedures are designed to adhere to

the Sixth Circuit’s instructions regarding disclosure of judicial records, while also providing some

logistical tranquility.



Summary Judgment and Daubert Motions filed on or before June 28, 2019

    A. As to all Daubert and dispositive motions filed on or before June 28, 2019, the parties shall
       undertake or continue the confidentiality-designation process outlined in steps 3 and 4 of
       Special Master Cohen’s directions at docket no. 1719. The parties shall then meet and
       confer to resolve any disputes. All proposed redactions to the motions and memoranda in
       support must be exchanged by July 9, 2019 at noon, and the meet and confer process must
       conclude on July 11, 2019. As to all exhibits to the motions, all proposed redactions must
       be exchanged by July 15, 2019 at noon, and the meet and confer process must conclude on
       July 18, 2019.

    B. On July 19, 2019, the Filing Party shall file: (1) a public version of the motions and exhibits
       as served, containing (i) all agreed-to redactions (if any) and also (ii) any disputed redactions
       (if any); (2) if there are any redactions, an unredacted version of the filing under seal, and
       (3) an accompanying motion to seal that identifies remaining disputes, and explaining the
       bases for all redactions by attaching the correspondence of the parties setting forth their
       positions on the proposed redactions. No additional briefing shall be included. The Special
       Master will then rule on the motions; ruling may be deferred until after response briefs are
       filed and all relevant redactions of a given document are identified.

    C. On July 19, 2019, the Filing Party shall also file full transcripts of any depositions and full
       copies of any expert reports cited in the motions, both (i) under seal in unredacted form and
       (ii) on the public docket with all agreed-upon and disputed redactions. Going forward,
       parties may cite to the versions of these documents by docket number. Previously-filed
       motions need not be edited to cite to newer exhibit docket numbers. The Filing Parties must
       file a chart cross-referencing exhibit citations in their motions with the separately-filed
       docket numbers of the full deposition transcripts or full expert reports.

    D. Further regarding paragraph C, all plaintiffs’ expert reports cited as exhibits shall be filed
       as a group with a single docket number, and all defendants’ expert reports cited as exhibits
       shall be filed as a group with a single docket number. (E.g., docket no. 3456, Notice of

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       filing of plaintiffs’ expert reports; docket no. 3456-1, Jones Report; docket no. 3456-2, Smith
       Report; docket no. 3457, Notice of filing of defendants’ expert reports; docket no. 3457-1,
       Harris Report; and so on).

   E. Further regarding paragraph C, all deposition transcripts cited as exhibits shall be filed as
      one or two groups with a single docket number, see Paragraph D. (The parties shall
      coordinate this filing. They can either choose not to segregate transcripts by plaintiffs and
      defendants and file them all under a single docket number, or utilize an agreed-upon method,
      such as “the party to first notice the deposition files the transcript,” to segregate by plaintiffs
      and defendants.)

   F. To the extent any of the disputed redactions are overruled, within one business day, the
      Filing Party shall refile on the docket the final version of the document as appropriate. If
      any redactions remain, the corrected document shall be filed on the public docket with the
      court-ordered redactions.



Summary Judgment and Daubert Responses and Replies

   G. Because both parties filed dispositive motions prior to June 28, 2019 that relate to motions
      later filed on June 28, 2019, and in order to encourage the parties to consolidate their
      briefing as instructed, all responses and replies to the Daubert and dispositive motions filed
      on or before June 28, 2019, including docket nos. 1691, 1692, 1703, 1716, 1733, 1736, are
      due at 3:00 p.m. on Tuesday July 31, 2019; and replies are due at 3:00 p.m. on August 16,
      2019.

   H. The parties shall follow the confidentiality-designation process outlined in Special Master
      Cohen’s Ruling at docket no. 1719 for responses and replies. The parties shall then meet and
      confer to resolve any disputes. As to response briefs, any disputes must be submitted
      following the procedure on August 9, 2019; as to new response exhibits, this process must
      conclude on August 13, 2019. As to reply briefs, this process for the motions and briefs
      must conclude on August 23, 2019; as to new reply exhibits, this process must conclude on
      August 27, 2019.

   I. Steps B-F above then apply.




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Thumb-Drives and Hard Copies

       The Special Master earlier issued directions regarding submission of thumb-drives and hard

copies, see docket no. 1719 at 2 n.2. Those directions are amended as follows. The parties shall

provide unredacted Trial Briefs to Court staff as follows:

•      to chambers, one hard-copy of supporting briefs only (not motions or exhibits), and two

       thumb drives with PDFs of motions, briefs, and exhibits. The hard-copies of briefs shall be

       hand-delivered to chambers at 3:00 p.m. on the date due.

•      to Special Master Cohen, one thumb drive with PDFs of motions, briefs, and exhibits.

Other instructions issued by Special Master Cohen regarding file names, passwords, compression,

combining thumb-drives, and emailing of briefs remain in place.4

       IT IS SO ORDERED.


                                                     /s/ Dan Aaron Polster
                                                     DAN AARON POLSTER
                                                     UNITED STATES DISTRICT JUDGE

Dated: July 5, 2019




       4
         See these emails from Special Master Cohen: (1) “Thumb Drive Issues - Important,” July
1, 2019, 2:27 p.m.; and (2) “filings and thumb-drives - amended,” June 27, 2019 12:57 p.m.
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